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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                Plaintiff,                                   Case Number 18-20495
 v.                                                          Honorable David M. Lawson

 IBRAHEEM IZZY MUSAIBLI,

                Defendant.
                                              /

                  ORDER DENYING MOTION FOR RELEASE ON BOND

        This matter is before the Court on the defendant’s motion to vacate the order of detention

 and for release on bond pending trial. The Court has reviewed the submissions of the parties and

 heard oral argument on May 10, 2021. At the end of the hearing, the Court found, based on all of

 the information submitted by the parties, that there is no condition or combination of conditions

 that reasonably would assure the defendant’s appearance at trial, and the Court announced from

 the bench its decision to deny the motion.

        The Bail Reform Act favors pretrial release. United States v. Stone, 608 F.3d 939, 945 (6th

 Cir. 2010). (observing that “[t]he default position of the law . . . is that a defendant should be

 released pending trial”). Detention may be ordered “only if a judicial officer ‘finds that no

 condition or combination of conditions will reasonably assure the appearance of the person as

 required and the safety of any other person and the community[.]’” Ibid. (quoting 18 U.S.C. §

 3142(e)). In making this determination, the Court must consider:

        (1)     the nature and circumstances of the offense charged, including whether the
        offense is a crime of violence, a violation of section 1591, a Federal crime of
        terrorism, or involves a minor victim or a controlled substance, firearm, explosive,
        or destructive device;

        (2)     the weight of the evidence against the person;
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        (3)     the history and characteristics of the person, including

                (A)    the person’s character, physical and mental condition, family ties,
        employment, financial resources, length of residence in the community, community
        ties, past conduct, history relating to drug or alcohol abuse, criminal history, and
        record concerning appearance at court proceedings; and

               (B)    whether, at the time of the current offense or arrest, the person was
        on probation, on parole, or on other release pending trial, sentencing, appeal, or
        completion of sentence for an offense under Federal, State, or local law; and

        (4)    the nature and seriousness of the danger to any person or the community
        that would be posed by the person’s release.

 18 U.S.C. § 3142(g).

        The defendant was charged in a superseding indictment with providing and conspiring to

 provide material support to a foreign terrorist organization, 18 U.S.C. § 2339B (Counts I and II) ,

 and receiving military type training from a foreign terrorist organization 18 U.S.C. § 2339D(a)

 (Count IV). On July 27, 2018, the defendant consented to be detained while awaiting trial, and a

 consent order of detention was entered. The pretrial proceedings in this matter have occupied

 significant time, including several examinations to assess the defendant’s competency to stand

 trial, and the hearing and adjudication of numerous pretrial motions, some of which remain

 pending. The trial also unavoidably has been delayed by the circumstances of the ongoing global

 pandemic. The defendant filed his motion for release on bond on April 8, 2021.

        Because the defendant has been charged with serious terrorism crimes, there is a rebuttable

 presumption that no condition or combination of conditions will reasonably assure his appearance

 as required. 18 U.S.C. §§ 3142(e)(3)(B). However, even where the defendant has introduced

 some evidence suggesting that he may not pose a risk of flight, “‘the presumption favoring

 detention does not disappear entirely, but remains a factor to be considered among those weighed

 by the district court.’” United States v. Stone, 608 F.3d 939, 945 (6th Cir. 2010) (quoting United

 States v. Mercedes, 254 F.3d 433, 436 (2d Cir. 2001)). “The presumption remains as a factor


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 because it is not simply an evidentiary tool designed for the courts. Instead, the presumption

 reflects Congress’s substantive judgment that particular classes of offenders should ordinarily be

 detained prior to trial.” Ibid.

         After considering the record of the proceedings and the presentations of the parties, the

 Court finds that the defendant has failed to put forth sufficient evidence to rebut the presumption

 of detention, and the government has established by a preponderance of the evidence that no

 condition or combination of conditions reasonably will assure his appearance at trial.

         The defendant argues that the risk of flight is minimal because he could be subjected to

 GPS location monitoring and he does not presently hold a valid passport. He also asserts that there

 is no direct evidence corroborating the allegations that he engaged in combat while abroad, and he

 contends that his behavior while in a foreign war zone cannot be imputed to discern the likely

 course of his conduct while residing in a peaceful situation here. He also asserts that there is no

 indication in his personal history of any violent or dangerous conduct preceding the incidents for

 which he is charged in this case. The government responds that it has produced hundreds of pages

 of text messages sent by the defendant to government agents that amply document his antipathy

 toward America and his ardent desire to return to Yemen. It also asserts that recordings of jail

 calls since the defendant has been confined reveal that the defendant has an extremely contentious

 relationship with his father, who has volunteered to serve as a third-party custodian if the defendant

 is released on bond. The government also contends that enlistment records which mention the

 defendant and physical injuries that he received while abroad substantiate the charges that he

 actively engaged in combat while on duty with ISIS forces.

         The Court observes, as an initial matter, that due to the nature of the location monitoring

 technology that is available for keeping tabs on individuals who are released on bond, a motivated




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 individual has within his or her means the ability to defeat that technology and find a way to leave

 the district if he or she so desires. The Court also notes, as the government points out, that the

 defendant proposes upon his release to return to the same circumstances of family life that he

 previously found so unsatisfactory and intolerable that he was motivated to travel overseas to the

 middle east. The Court finds that the defendant’s prior social trajectory amply demonstrates his

 antipathy to the local and national culture in which he would be immersed if released. Based on

 those circumstances, the Court finds that there is no condition or combination of conditions that

 could mitigate the apparent — and apparently unaltered — sentiment that powerfully would

 motivate the defendant to leave the jurisdiction. The Court therefore finds by clear and convincing

 evidence that there is no condition or combination of conditions that can assure the defendant’s

 appearance for trial. The Court further finds that the defendant has failed to advance sufficient

 evidence to rebut the presumption that he should be detained.

        However, the defendant has outlined conditions of confinement at the Livingston County

 Jail, where he is lodged presently by the United States Marshal’s Service, which amount to solitary

 confinement. That circumstance apparently results from the limitations of the facility to protect

 the defendant’s welfare. However, the conditions are intolerable for a pretrial detainee. There is

 reason to believe that they would not be necessary at a different facility, such as the detention

 center at Milan, Michigan. If a transfer cannot be arranged, the Court will have to reconsider

 whether alternatives to pretrial detention will assure the defendant’s appearance and the safety of

 the community.

        Accordingly, it is ORDERED that the defendant’s motion for release on bond (ECF No.

 133) is DENIED for the reasons stated above and those stated on the record. However, if the




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 defendant is not transferred to a different situation of confinement within one week, then the Court

 will entertain a renewed request for release on bond.

                                                              s/David M. Lawson
                                                              DAVID M. LAWSON
                                                              United States District Judge

 Dated: May 10, 2021




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